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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT,                      :
INC., ET AL.                                        :
                                                    :
Plaintiff,                                          :
                                                    :
        v.                                          : CIVIL ACTION NO. 2:20-cv-00966-NR
                                                    :
KATHY BOOCKVAR, ET AL.,                             :
                                                    :
Defendants.                                         :


                           STATEMENT OF NON-OPPOSITION

        Defendant Delaware County Board of Elections (“Delaware County”), by and through

its undersigned counsel, hereby states that it reviewed the motion and accompanying brief filed

by the National Association for the Advancement of Colored People (“NAACP”), Pennsylvania

State Conference, Common Cause Pennsylvania, League of Women Voters of Pennsylvania,

Patricia DeMarco, Danielle Graham Robinson, and Kathleen Wise seeking to intervene in the

above-captioned matter (Doc. Nos. 103 & 104) and do not oppose their intervention.
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Dated: July 16, 2020


                                                Respectfully submitted,

                                                /s/ Edward D. Rogers
                                                Edward D. Rogers (No. 69337)
                                                David S. Fryman (No. 57623)
                                                Elizabeth V. Wingfield (No. 324277)
                                                BALLARD SPAHR LLP
                                                1735 Market Street, 51st Floor
                                                Philadelphia, Pennsylvania 19103
                                                Phone: (215) 665-8500
                                                Facsimile: (215) 864-8999

                                                Of counsel, pro hac vice applications
                                                forthcoming:

                                                Terence M. Grugan (No. 307221)
                                                Kahlil C. Williams (No. 325468)

                                                Attorneys for Defendant Delaware
                                                County Board of Elections




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                               CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a true and correct copy of the foregoing

Statement of Non-Opposition was filed and served on July 16, 2020 via the Court’s CM/ECF

system.


Dated: July 16, 2020.
                                                           /s/ Edward D. Rogers
                                                           Edward D. Rogers
